                 Case 2:21-cv-00750-RSL Document 51 Filed 11/08/21 Page 1 of 5



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 7                                    UNITED STATES DISTRICT COURT
 8
                                WESTERN DISTRICT OF WASHINGTON
 9
                                               AT SEATTLE
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11 KAELI GARNER, et al.,                               Case No.: 2:21-cv-00750-RSL
12                      Plaintiffs,
                                                       STIPULATED MOTION TO SCHEDULE
13          v.                                         RESPONSIVE PLEADING AND ORDER
14 AMAZON.COM, INC., a Delaware
   Corporation, and AMAZON.COM SERVICES,
15 LLC, a Delaware Limited Liability Company,

16                      Defendants.
17

18
                                          STIPULATED MOTION
19
            Plaintiffs Kaeli Garner, et al. (collectively, “Plaintiffs”), and Defendants Amazon.com, Inc.
20
     and Amazon.com Services, LLC (collectively, “Amazon”) jointly request that the Court approve
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     the following process and schedule. The Parties make this request in anticipation that, in lieu of
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     opposing Defendants’ Motion to Dismiss the Consolidated Complaint (Dkt. No. 48), Plaintiffs will
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     file a First Amended Consolidated Complaint on or before November 17, 2021.
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     STIP. MOTION TO SCHEDULE RESPONSIVE
     PLEADING AND ORDER                                                      FENWICK & WEST LLP
                                                                            1191 SECOND AVENUE, 10TH FLOOR
     CASE NO.: 2:21-CV-00750-RSL                      -1-                     SEATTLE, WASHINGTON 98101
              Case 2:21-cv-00750-RSL Document 51 Filed 11/08/21 Page 2 of 5



 1 The Parties stipulate to and request that the Court set the following briefing schedule:

 2             1. Defendants shall have until December 15, 2021 to file an Answer or a Motion in

 3                 response to an amended consolidated complaint.

 4             2. Plaintiffs shall have until January 12, 2022 to file an Opposition to any Motion.

 5             3. Defendants shall have until January 28, 2022 to file a Reply brief.

 6             4. Page limits for any Motion shall be 60 pages, 60 pages for the Opposition to the

 7                 Motion, and 30 pages for the Reply brief.

 8

 9 Dated: November 5, 2021                                 Respectfully submitted,

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                                                      AMAZON.COM, INC. and
24                                                    AMAZON.COM SERVICES, LLC
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     STIP. MOTION TO SCHEDULE RESPONSIVE
     PLEADING AND ORDER                                                      FENWICK & WEST LLP
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     CASE NO.: 2:21-CV-00750-RSL                     -2-                     SEATTLE, WASHINGTON 98101
             Case 2:21-cv-00750-RSL Document 51 Filed 11/08/21 Page 3 of 5



 1 Dated: November 5, 2021                          Respectfully submitted,

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     STIP. MOTION TO SCHEDULE RESPONSIVE
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     CASE NO.: 2:21-CV-00750-RSL              -3-                      SEATTLE, WASHINGTON 98101
             Case 2:21-cv-00750-RSL Document 51 Filed 11/08/21 Page 4 of 5



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     CASE NO.: 2:21-CV-00750-RSL           -4-                    SEATTLE, WASHINGTON 98101
              Case 2:21-cv-00750-RSL Document 51 Filed 11/08/21 Page 5 of 5



 1

 2                                               ORDER

 3 Pursuant to the Parties’ stipulated motion, it is HEREBY ORDERED that:

 4      1. Defendants shall have until December 15, 2021 to file an Answer or a Motion in response

 5         to any amended consolidated complaint.

 6      2. Plaintiffs shall have until January 12, 2022 to file an Opposition to the Motion.

 7      3. Defendants shall have until January 28, 2022 to file a Reply brief.

 8      4. Page limits for any Motion shall be 60 pages, 60 pages for the Opposition to the Motion,

 9         and 30 pages for the Reply brief.

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11 IT IS HEREBY ORDERED.

12 Dated this 8th day of November, 2021.

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14
                                                 THE HONORABLE ROBERT S. LASNIK
15                                               UNITED STATES DISTRICT JUDGE
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     STIP. MOTION TO SCHEDULE RESPONSIVE
     PLEADING AND ORDER                                                     FENWICK & WEST LLP
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     CASE NO.: 2:21-CV-00750-RSL                     -5-                     SEATTLE, WASHINGTON 98101
